
329 S.W.3d 407 (2011)
In the Interest of: M.J.G. and M.G.
No. ED 95165.
Missouri Court of Appeals, Eastern District, Division One.
January 11, 2011.
Gordon Rolla Upchurch, Union, MO, Sidney A. Thayer, Jr., Washington, MO, for Appellant.
Laura M. Sexton, Union, MO, for Respondent.
Before ROY L. RICHTER, C.J., KATHIANNE KNAUP CRANE, J., and KENNETH M. ROMINES, J.

ORDER
PER CURIAM.
Rebecca Garrison and George Garrison ("Mother and Father") appeal the trial court's decision to terminate their parental rights over M.J.G. and M.G. (collectively, "the children"). We have reviewed the briefs of the parties and the record on appeal and find no error of law. No jurisprudential purpose would be served by a written opinion. However, the parties have been furnished with a memorandum for their information only, setting forth the facts and reasons for this order.
*408 The judgment is affirmed pursuant to Rule 84.16(b).
